                         Case 1:10-cv-03473-CCB Document 6 Filed 01/28/11 Page 1 of 3
•....    ~


         1     IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND
         2
             Andrea Olshin
         3
             20239 Locust Grove

         4   Rohrersville, MD 21779

                                                        CIVIL ACTION NO:   CCB-IO-cv-3473
         5                                                                              _FILED            _ENTERE
                             (Plaintiff)                                                _LOGGED           _RECEIVE
         6          v.

         7
             FMS, Incorporated                                                                 JAN 28 2011
             4915 S. Union Ave                                                                    AT BALTIMORE
                                                                                           CLERK, U.S. DISTRICT COURT
         8   Tulsa, OK 74107-7839                                                            DISTRIC~RYLAND

                                                                                                                        DE
                              (Defendant)
         9

        10
                                       PLAINTIFFS' MOTION FOR LEAVE TO FILE
        11
                                                AMENDED COMPLAINT

        12          Plaintiff, Andrea Olshin,pro se, pursuant to Fed. R. Civ. P.15, respectfully seek leave of
             the court to file an amended complaint. Plaintiff spoke with counsel for Defendant on January
        13
             25,2011, before an answer or other dispositive motion was filed in this instant case. After
        14
             speaking with counsel for Defense, Plaintiff realized that there may have been deficiencies in her
        15   pleadings. Plaintiff now seeks leave to amend her complaint to include violations of the Fair
        16   Debt Collection Practices Act (15 USC 1692 et seq).

        17
                    Of course, Fed. R. Civ. P. 15 states that a motion for leave to amend a complaint,
        18
             "shall be freely given when justice so requires." It is well-settled law that leave to amend
        19
             the complaint is rarely denied and may be denied only where there is a demonstrable
        20   showing of prejudice to an opposing party. In fact, it may be an abuse of discretion for

        21   the court to deny leave to amend absent a demonstrable showing of prejudice. Forman v.
             Davis, 371 U.S178, 83 SCt.227, 9 L.Ed. 2d 222 (1962); Jackson v. Bank of Hawaii, 902
        22
             F 2d 1385 (9th Cir. 1990); Harkless v. Sweeny Independent School District, 544 F 2d
        23
             1353 (5th Cir.1977) cert. Denied 434 U.S 966; United Steelworkers of America v. Mesker
        24   Bros. Industries, Inc., 457F2d 91 (8th Cir. 1971).

        25




                                                              - 1
                Case 1:10-cv-03473-CCB Document 6 Filed 01/28/11 Page 2 of 3



 1          Leave to amend may be denied, for example, if it is sought during trial and would

 2   so alter the case that the opposing party would be required to seek new evidence and
     additional witnesses. Ibid Leave may be denied if the amended pleading is offered only
 3
     after the death of a crucial witness who would be required by the opposing party to rebut
 4
     the new allegations.
 5

 6          However, it is well-settled law that the court may grant leave to amend the

 7   complaint during trial; indeed the court may permit a complaint to be amended even after
     completion of the trial. Brown v R. & R Engineering Co., F Supp. 315 (D. Del. 1958)
 8
     reversed on other gyounds 264 F2d 219 (3d Cir.1959); Hemmer-Miller           Dev. Co. v.
 9
     Hudson Ins. Co., 63 S.D. 109, 256 N W 798 (1934)
10          A party may be given the right to amend the pleadings after trial to conform to the

11   proof at trial. Fed R. Civ. P. 15 (b); West's Ann. Cal. Code Civ. Proc. Section 469,470;
     NY-McKinney's    CPLR 3025 (c).
12

13
             Further a number of federal courts have held that the court should not even
14
     consider the legal sufficiency of the substance of the proposed amendment in granting
15   leave to file the amended complaint.

16
            The facts in this matter demonstrate beyond cavil that the proposed amendment is
17
     offered in good faith and for good reasons, that it is the first motion made by the plaintiffs
18
     to amend the complaint and that it is offered to narrow the issues and to resolve
19   matters raised by defendants' motion to dismiss and in the interests of justice.

20

            Clearly, the Defendant may not assert that their rights have been prejudiced; no
21
     answer as been filed by the defendants and no discovery has been initiated. An example of the
22
     reasons for the motion for leave to file an amended complaint is that the Plaintiff is proceeding
23   pro se, and courts have constantly and consistently given pro se Plaintiff's a wide degree of
24   latitude in their pleadings. Secondly, Plaintiff, through legal research, just recently realized that

25
     the Defendant also has violated the Federal Fair Debt Collection Practices Act 15 USC 1692et




                                                       - 2
                                  Case 1:10-cv-03473-CCB Document 6 Filed 01/28/11 Page 3 of 3
'.   ..•        ..
            1        seq, and would be unduly prejudiced should this instant complaint be dismissed without leave to
            2        amend to include the FDCP A violations.

            3
                                                                  CONCLUSION
            4


            5
                               For the reasons set forth above, plaintiff respectfully request that leave to file the
            6        First Amended Complaint, which Plaintiff will submit after the court has granted Plaintiffs

            7
                     motion.

            8
                                                                       RESPECTFULLY SUBMITTED,
            9


           10

           11

                                                                       Andrea Olshin, pro se
           12
                                                                       20239 Locust Grove Road
           13
                                                                       Rohrersville, MD 21779
           14
                                                                       2405201654
           15
                                                         CERTIFICATE OF SERVICE
           16

                     I, Andrea Olshin, Plaintiff, hereby certify that on January 25, 2011, I caused a true and correct
           17

           18        copy of Plaintiffs Motion for Leave to Amend Complaint to be served upon the parties below

           19        named by the methodes) noted:

           20        Christopher Kellett
                     Jordan Coyne & Savits, L.L.P.
           21        1100 Connecticut Ave., NW
                     Suite 600
           22
                     Washington, DC 20036
                     via first class us mail
           23

           24

           25
                                                                               Andrea Olshin




                                                                         - 3
